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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

MISS GLOBAL ORGANIZATION, et al.                                      CASE NUMBER

                                                       Plaintiff(s)                     8:17-CV-2223-DOC-KES
                                     v.
SHOKHUNTEA MAK, et al.                                                       ORDER ON REQUEST FOR APPROVAL
                                                                             OF SUBSTITUTION OR WITHDRAWAL
                                                     Defendant(s)
                                                                                     OF ATTORNEY [29]

         The Court hereby orders that the request of:

Miss Global Organization LLC; Van Pham                   Plaintiff      Defendant        Other Counter-Defendant
                     Name of Party

to substitute Michael A. Trauben of Singh Singh & Trauben LLP                                                           who is

           Retained Counsel                Counsel appointed by the Court (Criminal cases only)                    Pro Se

400 S Beverly Dr, Suite 240
                                                                Street Address
      Beverly Hills, CA 90212                                                    mtrauben@singhtraubenlaw.com
                             City, State, Zip                                                     E-Mail Address

         310-856-9705                                888-734-3555                                 277557
                     Telephone Number                           Fax Number                                 State Bar Number

as attorney of record instead of
                                                     List all attorneys from same firm or agency who are withdrawing.
Erica J. Van Loon, Dan Liu, and Brittany Marie Elias, of Glaser Weil Fink Howard Avchen & Shapiro LLP



is hereby             X GRANTED                 DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this case.


         Dated         April 5, 2018
                                                                         DAVID O. CARTER, U. S. District Judge



G–01 ORDER (09/17)           ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
